Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 1 of 18

AO 91 (Rev. 02/09) Criminal Complaint

United States District Court

for the
Western District of New York

 

United States of America

Case No. 16-M- 503’)

Vv.

JOSEPH KUROWSKI

 

Defendant

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates listed below, in the Western District of New York, the defendant, JOSEPH
KUROWSKI, did:

(1) On or about April 10, 2015, knowingly use, persuade, induce, entice and coerce a minor, that is,
Victim 4, to engage in sexually explicit conduct for the purpose of producing a visual depiction of
such sexually explicit conduct, which visual depiction was produced using materials that had been
mailed, shipped, and transported in and affecting interstate and foreign commerce by any means,
including by computer;

(2) On or about April 10, 2015, and on or about September 26, 2015, using any means and facility of
interstate and foreign commerce, knowingly receive child pornography, as defined in Title 18,
United States Code, Section 2256(8), which child pornography had been shipped and transported in
and affecting interstate and foreign commerce by any means, including by computer; and

(3) On or about October 21, 2015, knowingly possess material that contained images of child
pornography, as defined in Title 18, United States Code, Section 2256(8), that had been mailed,
shipped and transported in and affecting interstate and foreign commerce by any means, including
by computer, and that were produced using materials that had been mailed, shipped and transported
in and affecting interstate and foreign commerce by any means, including by computer;

all in violation of Title 18, United States Code, Sections 2251(a), 2252A(a)(2)(A), and 2252A(a)(5)(B).
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 2 of 18
This Criminal Complaint is based on these facts:

Continued on the attached sheet.

Complainant’s signature

Randall E. Garver, Special Agent, FBI

 

Printed name and title

Sworn to before me and signed in my presence.

Date: March 30 , 2016 Wrpetn! ) (2.

Judge é signature

 

City and State: Buffalo, New York HON. MICHAEL J. ROEMER, USMJ

Printed name and title

 
Case 1:16-cr-00094-LJV-MJR Document 1 Filed 03/30/16 Page 3 of 18

AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Randall E. Garver, being duly sworn, depose and state:

INTRODUCTION

1. I am a Special Agent of the Federal Bureau of Investigation and entered on
duty in May 2006. I am currently assigned to the Buffalo Field Office and work on cases
associated with the Violent Crimes Against Children program, which targets individuals
involved in the online sexual exploitation of children. As part of these duties, I have
become involved in the investigation of suspected violations of Title 18, United States Code,
Sections 2251, 2252, 2252A, 2422, and 2423. I have also participated in various FBI
mandated and volunteer training for the investigation and enforcement of federal child
pornography laws in which computers are used as the means for receiving, transmitting, and

storing child pornography.

2. I make this affidavit in support of a criminal complaint charging JOSEPH
KUROWSKI (“KUROWSKI1”), with violations of Title 18, United States Code, Sections
2251(a) [Production of Child Pornography], 2252A(a)(2)(A) [Receipt of Child

Pornography], and 2252A(a)(5)(B) [Possession of Child Pornography].

3. The statements contained in this affidavit are based on my involvement in this
investigation, as well as information provided to me by other law enforcement officers in
this investigation, and upon my training and experience as a Special Agent of the Buffalo

FBI. Because this affidavit is being submitted for the limited purpose of seeking a criminal
Case 1:16-cr-00094-LJV-MJR Document 1 Filed 03/30/16 Page 4 of 18

complaint, I have not included each and every fact known to me concerning this
investigation. I have set forth only the facts necessary to establish probable cause to believe
that KUROWSKI knowingly violated Title 18, United States Code, Sections 2251(a),

2252A(a)(2), and 2252A(a)(5)(B).

VICTIM 1

4, In August of 2015, a police officer with the Blasdell, New York, Police
Department reported to the FBI’s Child Exploitation Task Force that their department
received a report involving a 13-year-old female (hereinafter “Victim 1”), in which Victim 1
used a smartphone to engage in sexually explicit conversations with numerous unknown
individuals, using the Kik application and through text messages. Kik is a mobile
messaging application that allows users to communicate with other users and send
photographs. As part of my investigation, I reviewed the conversations between Victim 1
and the other individuals, including one individual who has now been identified as
KUROWSKI. Using conversations found in Victim 1’s phone, I obtained a search warrant
for KUROWSK1’s residence in Buffalo, New York, which the FBI executed on October 21,

2015.

5. As part of my investigation, I have reviewed a chat conversation that took
place over Kik involving Victim 1 and the user of Kik name "joeykurowski" between June
19 - 23, 2015. On June 19, Victim 1 wrote, "I just don't wanna be [that] girl."
"Joeykurowski" replied, "what girl...it's not a hump and dump. I told you this is ongoing

it's not like that." The user continued, "we won't meet? You too chicken haha...well prove
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 5 of 18

me wrong is all I can say." Victim 1 wrote, "well c...what happens...I don't know what else
to tell u.". "Joeykurowski" appeared to attempt to convince Victim 1 to meet him and
replied, "tell me your coming out...ok well I'm not sure what to talk with you about...I don't

know how to help you."

Gs On June 22, "joeykurowski" wrote, "I don't think you want it;" and Victim 1
wrote back apparently telling "joeykurowski" that something in the discussion was
"ridiculous.". "Joeykurowski" replied, "what is?" On June 23, Victim 1 replied, "your
reason. 13 [from] 15 isn't that big of a deal." "Joeykurowski" replied, "it's not the age
difference. It's the fact that you lied." Victim 1 then wrote, "what's the point?" I believe
that this portion of the conversation showed that "joeykurowski" believed that Victim 1 was
15-years-old, and was upset that she lied to him when he found out she was only 13.
"Joeykurowski" replied, "you tell me? You wanna see my dick? Get on and tell me that."
Victim 1 wrote back, "no," and then asked through the conversation what he wants from
her. "Joeykutrowski" wrote, "I wanna see you and hold you and make out with you and
grab your titties and I wanna fuck you in lots of fun ways especially cause your so small it'll
be amazing cause I can hold you up and whip you around. But when your ready...I wanna
see your body and hear you moan." Victim 1 replied, "I want that a lot...1 don't know when
though." "Joeykurowski" wrote, "I'll get on skype with my face if you get naked, partially or
totally and masturbate with me. And whenever. Just let me come get you. Text your
parents and either ask when they'll be home or if you can go to a friends for awhile."
"Joeykurowski" then asked, "getting on skype or you gonna see if we can get together in

person." Victim 1 wrote, "ok. But I can't masturbate." Based on this conversation, I believe
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 6 of 18

the user of "joeykurowski' knew Victim 1 was 13, wanted to meet her for sexual purposes,
and asked her to masturbate over Skype, which constituted an attempted production of child
pornography and sexual enticement of a minor. I reviewed Victim 1's Skype account and

did not recover any pictures or chat logs corresponding to this conversation.

7: On or about September 21, 2015, a law enforcement officer using Victim 1's

Kik account in an undercover (UC) capacity, engaged in a Kik chat session with

too late u know...for u to spoil me...maybe something nice to make me look hot."
"Joeykurowski" replied, "Oh? Then I'd want you right then and there." The UC and
"joeykurowski" then discussed why the Victim had not been on Kik for a while, and the UC
wrote, "sorry, I just got a little scared, I didn't know if u told anyone about us," to which
"joeykurowski" replied, "nope." The UC wrote, "as long as you promise not to tell anyone
I'm cool." "Joeykurowski" replied, "I don't need to." When the pair discussed meeting, the
UC wrote "but u said u wanted too, remember," to which "joeykurowski" replied, "I do
want to." The UC wrote, "well u said u wanted to do it and hear me moan," and
"joeykurowski" replied, "yea I suppose I did." On September 22, 2015, "joeykurowski"
wrote the UC, "I want to get together with you because I think I want you but this way we
can explore that." On September 23, the UC replied, "ok, I'm in school til 3 so after school

some time." "Joeykurowski" wrote, "I work till 6:30 so after that. When do you want to?"

8. On October 21, 2015, KUROWSKI was interviewed during the execution of

the search warrant by the FBI and admitted that he was a participant in the Kik
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 7 of 18

conversations detailed above. He knew Victim 1 as “K” and knew she was 13 years old,
though he thought she was 15 when they met over Whisper. KUROWSKI said he wanted
a “fully body shot” of Victim 1. He also told the FBI that he uses telephone number (716)

598-1519.

VICTIM 2

u, During the forensic examination of KUROWSKI’s Apple Macbook laptop
computer and Apple iPhone 6 seized during the execution of the search warrant, text
message conversations with another individual, who has now been identified as a 15-year-
old female (hereinafter “Victim 2”), were located. A summary of the text message

conversation recovered is included below.

10. On February 7, 2015, Victim 2 wrote KUROWSKI, "it's the girl from whisper
ha ha...how old are you?!" KUROWSKI replied, "22 how old are you?...are you not gonna
talk to me now?" Victim 2 replied "15," and KUROWSKI responded, "oh well whatever. I
don't really care if you don't.". KUROWSKI asked Victim 2, "did you wanna do somethin
tonight?" Victim 2 asked, "buy me alcohol" and KUROWSKI wrote, "I can get alcohol lol."
Victim 2 replied, "well I mean I'm 15, I can't really leave my house. Especially chill with a
23 year old that I barely know." Victim 2 told KUROWSKI he was acting strange, and he
replied, "so that's why I asked if you wanted to chill. It's not like you sent me nudes and I'm

like ooh lemme get that right now lol...but they're welcome! Lol."
Case 1:16-cr-00094-LJV-MJR Document 1 Filed 03/30/16 Page 8 of 18

11. On or about February 8, 2015, the conversation continued by Victim 2
discussing issues she was having with a boyfriend. KUROWSKI wrote "you should get rid
of him [her boyfriend]. I told you I'd take you out if you want. Do you guys do anything
like physically?" Victim 2 replied that she is a virgin, to which KUROWSKI asked, "but do
you mind telling me? Do you have sex or something?" Victim 2 again stated that she was
not having sex at her age. KUROWSKI replied, "I can't believe your only 15 like I wish I
could have you forreal." Victim 2 responded, "you're too old tho;" KUROWSKI wrote,
"I'm only too old if you feel weird about it. Like I said I don't care if the person is mature

enough it doesn't bother me at all."

12, On or about February 10, 2015, Victim 2 asked KUROWSKI, "if I ever give
you $ would you ever [buy] alcohol for my friends and I hahaha If not I understand."
KUROWSKI replied, "Yea I can but only if you hook me up with one!" Victim 2 asked,
"hook you up with a 14-15 year old?..Isn't that a little weird." KUROWSKI suggested
maybe Victim 2 had older friends and Victim 2 wrote that they were all about her age.

KUROWSKI told Victim 2, "...maybe one of them would be into me lol."

13. On or about March 13, 2015, Victim 2 wrote KUROWSKI, "pick me up," to
which KUROWSKI replied, "ok what's your address." Victim 2 replied, "I'm jk [just
kidding].". KUROWSKI replied, "Nooo comon! My whole family left for the weekend so

I'm bored and want somethin to do. We can drink I got alcohol."
Case 1:16-cr-00094-LJV-MJR Document 1 Filed 03/30/16 Page 9 of 18

14. On October 1, 2015, Victim 2, using a different phone number, sent a text to
KUROWSKI that stated “hey.” KUROWSKI replied, “hey whats up.” Victim 2 wrote,
“do you know who this is;” when KUROWSKI said he did not, Victim 2 gave her first
name. Victim 2 wrote, “this is Joey kurowski right?” and he replied, “yep.” Victim 2
wrote, “so how old are you” and KUROWSKI replied, “im 22 why?” Victim 2 wrote,
“okay good, I thought you were older lol you’re young.” KUROWSKI replied, “im young?
your like 16 aren’t you?” Victim 2 wrote back, “almost...I act older haha.” KUROWSKI
then wrote, “oh haha. that sucks for me.” Victim 2 sent a photo of herself and a friend and
told KUROWSKI she is the “blond one.” KUROWSKI replied, “nice. Got a body pic? like
bikini or something.” Victim 2 responded, “uhhh...not for you.”, KUROWSKI wrote back,
“you don’t have to haha...what’s wrong with me?” Victim 2 replied, “I don’t really know
you.” KUROWSKI wrote, “well we should get to know each other better... would you like
to chill sometime?” As the conversation continued, Victim 2 wrote, “I have school in the
morning im going to bed soon.” KUROWSKI wrote back, “oh well ill just join you haha.”
Later in the conversation, the two discussed what towns in western New York they reside in
and KUROWSKI wrote, “so im like 10-15 mins from you probably...and I have my own
car.” Victim 2 wrote, “you should pick me up from school sometime and we can chill.”
KUROWSKI replied that he could meet Victim 2 the following day after 6:30; Victim 2
replied, “no be my mom can’t know I’m with a 22 year old.”. KUROWSKI replied, “she

doesn’t have to know im 22 lol...I could be your age who knows haha.”

iS. On or about October 4, 2015, KUROWSKI wrote Victim 2, “went hiking

today. You wanna do something?” Victim 2 replied, “I’m not home sorry.” KUROWSKI
Case 1:16-cr-00094-LJV-MJR Document 1 Filed 03/30/16 Page 10 of 18

replied, “ooh ok well I mean I could pick you up if you wanted to tonight sometime.”
KUROWSKI wrote that they could “watch a movie at my place and chill.” Victim 2 asked,
“you have [y]our own house.” KUROWSKI wrote back, “not yet. I will soon hopefully. I
live with my parents still right now.” Victim 2 asked, “well wouldn’t that be weird if you
brought a 15 year old over hahaha.” KUROWSKI wrote, “it’s not like I’m announcing
how old you are.” Victim 2 responded, “you can tell.” KUROWSKI wrote back, “can you
though? My family is all kept to themselves they prob wouldn’t even notice. When I have
people over we just go right to my room. Anyway so my parents will say hi sometimes but

that’s like it.

16. Onor about October 16, 2015, KUROWSKI wrote, “want me to pick you up
from school tomorrow? I have off.” Victim 2 replied, “Yeah!” From the follow on texts, it

appears that Victim 2 never gave KUROWSKI a time to pick her up.

17. On or about October 18, 2015, Victim 2 wrote “how old are you” and
KUROWSKI replied, “omg lol...22.” Victim 2 wrote, “I forgot...buy me alcohol?”
KUROWSKI replied, “I can.” Victim 2 wrote, “on Halloween,” to which KUROWSKI
wrote, “shouldn’t be a problem...does that mean we’re chillin on holloween or some other

”

day.” Victim 2 wrote, “we can chill the day before and you give it [the alcohol] to me.”
KUROWSKI responded, “alright.” Victim 2 asked, “do I have to pay you for it?”
KUROWSKI wrote, “I mean idc [I don’t care] but it depends on what you want.” Victim 2

wrote “four loko,” and when asked where to get that and Victim 2 wrote, “7/11.” I know

Four Loko to be a flavored alcoholic beverage.
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 11 of 18

18. On November 11, 2015, Victim 2 was interviewed at her home. Victim 2 told
the FBI that around December 2014, she met KUROWSKI over the Whisper app and the
conversation moved to Snapchat. Victim 2 said she told KUROWSKI she was 14 when
they met and knew him to be 18 or 20, though she later learned he was 22. Over Snapchat,
KUROWSKI asked Victim 2 for nude pictures and offered to purchase Victim 2 alcohol in
exchange for oral sex. KUROWSKI offered to send Victim 2 pictures of his penis.
However, Victim 2 no longer had any of these messages saved. Due to the content of the
messages, Victim 2 deleted KUROWSKI as a Snapchat contact. Victim 2 viewed the text
messages detailed above, stated that she was a participant in them with KUROWSKI, and
showed the FBI that KUROWSKI’s telephone number was still in her phone. Victim 2
never met KUROWSKI for sex; she only saw him in person once, but the encounter was

benign.

19. That same evening, November 11, 2015, at 11:07 pm, KUROWSKI sent an
unsolicited text message to Victim 2 that just read, “hey.” Victim 2 did not reply until the

FBI concurred with her doing so on November 17, 2015. On or about November 17, 2015,

you really liked me...” KUROWSKI replied, “we are I just am going through a rough time
and stuff so it’s hard.” Victim 2 wrote, “Oh I’m sorry to hear about that. I’m here if you
need to talk about anything!.”. KUROWSKI replied, “I can’t unfortunately but a lawyer
took 2000 and I’m not even using him for the problem so I’m mad about that and then

there’s why I have a lawyer....Sad.” Victim 2 asked, “Why do you have a [lawyer]?...I

9
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 12 of 18

won’t tell anyone or judge you.” KUROWSKI answered, “can’t really talk about it...It’s
not about that. I can’t text about it or anything because it’s serious not because of you.”
Victim 2 wrote back, “okay understandable. I’m here if you need me!!!” KUROWSKI then
replied, “Thanks. I just don’t wanna be alone through this but there’s nothing anyone can
do.” Victim 2 asked, “are you sure you don’t want to talk about it? I'll delete these
messages and keep it confidential. I don’t judge either...??” KUROWSKI then wrote, “I
can’t. I don’t really want to either because it just makes me angers.” Victim 2 replied, “I’m

”

here, you can talk to me Joey.” He replied, “Yea but I don’t want to. I want to just not
need a lawyer or any of this but someone probably ruined the rest of my life.” Victim 2
wrote, “Tell me what happened please I wanna help...you can trust me Joey!!” To which
KUROWKSI replied, “You can’t though. Some girls mom told the police I was coercing
her to meet for sex. Didn’t meet. Barely had a loose plan, that I would never have actually
gone with and now they may have me in jail or registered as a sex offender when she
messaged me on an app for adults and asked me to bang her...I can’t trust anyone.” Victim
2 replied, “Yeah shit sorry. Wait so they took all your stuff?’ KUROWSKI answered,
“Yep. Had to get a new phone because I won't see it for a long time.” Victim 2 asked, “so
the girl wanted you???” KUROWSKI wrote back, “Yep. She initiated but still my fault I

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guess. Even though we had no plans.” Victim 2 then asked, “So she wanted you? Then
called the cops when she’s the one who wanted you? Did you like her or like have a
thing???” KUROWSKI wrote back, “No her mom probly called.” Victim 2 then asked,
“How old was she?” KUROWSKI wrote, “And freaked out about me ‘praying’...idk [I

don’t know] she started being 17 then 15.”

10
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Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 13 of 18

20. On March 27, 2016, without prompting, KUROWSKI sent a text message to

Victim 2 that simply read, “Hey” and began to follow Victim 2 on Twitter.

VICTIM 3
21. During the forensic examination of KUROWSKI’s Apple iPhone 6 seized
during the execution of the search warrant, Kik conversations with another individual, who
has now been identified as a 16-year-old female (hereinafter “Victim 3”), were located. A
label on this cellular telephone indicates that it was manufactured outside of New York
State. The Kik conversations took place from September 26, 2015, to October 4, 2015. On

November 9, 2015, Victim 3 was interviewed, and provided the following information.

22. Victim 3 met KUROWSKI over Whisper and then moved the conversations
to Kik. Victim 3 reviewed the conversations and agreed that she was a participant in them
and said she “vaguely” recalled sending him pictures and videos further described below.
Victim 3 told the FBI that KUROWSKI threatened her over Whisper, telling her that if she
does not participate in the sexting and sending him sexual videos, he would hurt her.
Victim 3 explained to the FBI that she thought KUROWSKI would assault or rape her if
she did not participate in the Kik chats detailed below. Victim 3 consented to the FBI
taking possession of her iPod, which she used to engage in the communications, however,
the FBI did not recover any conversation that is threatening or coercive in nature. The

following Kik messages were obtained from Victim 3’s iPod.

11
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 14 of 18

23. On September 26, 2015, KUROWSKI wrote Victim 3 on Kik, “Hey.” Victim
3 replied, “want to see those videos?” After KUROWSKI replied “Um yea!” Victim 3 sent
a picture of her exposed breasts with her t-shirt up and a ten second video clip of her
bouncing up and down with her breasts exposed. Victim 3 wrote, “just imagine looking up
at this while my tight past squeezes your cock and thrusts up and down.” KUROWSKI
wrote, “Yea imma need to jack off now.” Victim 3 asked, “want me to help?” Victim 3
then sent a 13 second video that focused on her vagina as she masturbated in a bath tub.
Based on my training and experience, I believe that this video constitutes child
pornography. Then Victim 3 sent a 12 second video clip of her breasts, while she rubbed
and licked one. Victim 3 wrote, “just imagine shoving your thick cock into my tight pussy.
Thrusting as hard as you can. My mouth around your cock going back and forth so fast my
tits bounce and you just come all over my face and mouth and tits.” KUROWSKI asked,
“you like sex this much?” Victim 3 replied, “well when you get me horny then yes...it’s a
thrill for me.” Victim 3 told KUROWSKI that she is shy in real life and not as open
sexually; KUROWSKI wrote, “well I hope you like round 2 3 and 4...I can like feel your
pussy on me and I can’t stand it I want it.” Victim 3 replied, “I can go for as many rounds
as you want...I can almost feel your cock inside me and trust me I want it too.”

KUROWSKI wrote, “your first vid won’t load...God lets fuck now.”

24. On or about September 27, 2015, KUROWSKI wrote Victim 3, “you never
let me know when to come over.” Victim 3 replied that she was out all day and away from
WiFi so she could not text KUROWSKI. KUROWSKI replied, “you can’t go now [out to

meet him] though so it’s like a sad face.” Victim 3 replied, “...maybe I can once I know

12
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 15 of 18

parents are sleeping.” KUROWSKI wrote, “maybe. I have to work at 11 so I can’t be out
that late.” KUROWSKI wrote, “so you been thinkin bout me” and Victim 3 replied that
she had. KUROWSKI asked, “like what?” Victim 3 wrote, “how im going to moan so
loud when you your cock thrusts inside me.” KUROWSKI replied, “yea hope there’s no
one around. They’ll think I’m killing you...plus that vid of ‘what it would look like’ could
be much more realistic. We’re gonna need to remake that.” Victim 3 asked, “you talking
about filming us.” KUROWSKI replied, “Mhm hope your cool with that.” Victim 3
replied, “yeah I am.” KUROWSKI asked, “know anyone that would wanna film?...we
need this tonight.” Victim 3 wrote, “I know,” to which KUROWSKI wrote, “so when are

we gonna fuck.”

VICTIM 4
Dh During the forensic examination of KUROWSKI’s Apple Macbook latptop
computer seized during the execution of the search warrant, text message conversations
with another individual, who has now been identified as a 17-year-old female (hereinafter
“Victim 4”), were located. The Macbook computer had a 250GB hard drive bearing serial
number SIKANYAF961074 installed in it. A label on this hard drive indicates that it was
manufactured outside of New York State. The text messages took place during the spring of

2015. A summary of the text message conversation recovered is included below.

26. On March 18, 2015, KUROWSKI asked Victim 4 for her address so he could

come meet her. Victim 4 replied, “I can’t tonight cause it’s late” and explained that these

13
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 16 of 18

were not her rules: “I didn’t say never I’m just saying [not] tonight because you know

curfew.”

2d, On March 23, 2015, Victim 4 sent KUROWSKI a picture of her face.
KUROWSKI replied, “thanks. I wish I could see more of you cause you have a cute face.”
KUROWSKI sent a picture of himself with his shirt off, and Victim 4 replied, “awe you’re
so cute.” KUROWSKI asked, “you don’t have another?” Victim 4 wrote, “not [of] like my
full body,” and then sent a picture of herself laying down with her shirt open, exposing her
bra. KUROWSKI replied, “I like that one. You wanna come chill with me?” Victim 4
wrote, “can’t it’s ‘family time.’”” KUROWSKI replied, “what? Tell them you wanna get

laid lol.”

28. On March 28, 2015, Victim 4 wrote KUROWSKI and said she was drinking
alcohol. KUROWSKI wrote, “Nice. Did you wanna chill with me today?” Victim 4
replied, “my curfew is 9.”. KUROWSKI told Victim 4 to ask if she can come out for an
hour. Victim 4 complained, “18 in three weeks and still have a curfew.” KUROWSKI
replied, “you still wanna do it?” to which Victim 4 responded, “just so you know I’m on my
period.” KUROWSKI asked, “ok. Would you be willing to like suck me off or something?”

Victim 4 wrote back that she was intoxicated, before the conversation ended.

29. On or about April 10, 2015, KUROWSKI wrote Victim 4, “at home chillin.
Kinda horney. Wanna [chill]?” Victim 4 replied that she has been sick and does not feel up

to meeting, and wrote that she is sorry she cannot meet. KUROWSKI wrote, “I mean if

14
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Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 17 of 18

you want to I’ll come get you but if you can’t you can’t.” KUROWSKI asked if Victim 4
was contagious and if she was on antibiotics before asking, “you should do that lol [take
antibiotics]. Wanna send me a pic?” Victim 4 replied that antibiotics may interfere with her
birth control after asking, “what kind of pic?” KUROWSKI wrote, “whatever kind you
want but if you send a good one I'll send a really good one back.” KUROWSKI wrote, “I
wanna see all of you basically.” Victim 4 then sent a picture of her partially covered breasts.
KUROWSKI replied, “what a tease!...Lemme see more and you'll get a nice shot of my
dick.” Victim 4 replied, “Lol I don’t have a long mirror though.” KUROWSKI wrote
back, “just take one of upper body the...lemme see the big picture though. Titties -stomach-
pussy.” Victim 4 then sent a close picture of her vagina with her fingers in the frame. Based

on my training and experience, this image constitutes child pornography.

30. On March 8, 2016, I interviewed Victim 4 who acknowledged that she was a

participant in the conversations detailed above and that she was 17-years-old at the time that

she sent the child pornographic images to KUROWSKI.

15
Case 1:16-cr-00094-LJV-MJR Document1 Filed 03/30/16 Page 18 of 18

CONCLUSION
31. | Based upon the foregoing, I respectfully submit that I have probable cause to
believe that JOSEPH KUROWSKI, has violated Title 18, United States Code, Sections
2251(a) [Production of Child Pornography], 2252A(a)(2)(A) [Receipt of Child

Pornography], and 2252A(a)(5)(B) [Possession of Child Pornography].

Randall E. Garver, Special Agent
Federal Bureau of Investigation

Sworn to before me this 0 day of
March, 2016

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HON. MICHAEL J. ROEMER
United States Magistrate Judge

16
